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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


JASON RATNER, derivatively on behalf           Case No.:1:16-cv-03589
of THE BOEING COMPANY,

                                               Hon. Matthew F. Kennelly
               Plaintiff,

       v.

W. JAMES MCNERNEY, JR., DENNIS
A. MUILENBURG, GREGORY D.
SMITH; DAVID L. CALHOUN,
ARTHUR D. COLLINS, JR., LINDA Z.
COOK, KENNETH M. DUBERSTEIN,
EDMUND P. GIAMBASTIANI, JR.,
LYNN J. GOOD, LAWRENCE W.
KELLNER, EDWARD M. LIDDY,
SUSAN C. SCHWAB, RONALD A.
WILLIAMS, and MIKE S. ZAFIROVSKI,

               Defendants,

       -and-

THE BOEING COMPANY,

               Nominal Defendant.


                            NOTICE OF VOLUNTARY DISMISSAL
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)

       Plaintiff Jason Ratner (“Plaintiff”) through his undersigned counsel of record, states as

follows:

       WHEREAS, the above-captioned action was filed on March 24, 2016, and is brought

derivatively on behalf of The Boeing Company (“Boeing”);

       WHEREAS, the action alleges violations of Section 14(a) of the Securities Exchange Act

of 1934, breaches of fiduciary duties, unjust enrichment, corporate waste, and insider selling

against certain current and former officers and directors of Boeing;

       WHEREAS, Defendants have neither answered the complaint nor moved for summary
judgment;


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       WHEREAS, on April 20, 2016, Plaintiff in the action entitled Bisht v. The Boeing

Company, et al., Case No. 16-cv-02454 (N.D. III.), which alleged violations of the Securities

Exchange Act of 1934 and is based upon substantially similar alleged conduct, filed a notice of

voluntary dismissal without prejudice;

       WHEREAS, counsel for Plaintiff and Defendants have met and conferred concerning this

action, and agree that all parties will bear their own costs and fees upon Plaintiff’s voluntary

dismissal of this action without prejudice; and

       WHEREAS, under Federal Rule of Civil of Procedure 41(a)(1)(A)(i), Plaintiff is entitled

to dismiss this action by filing “a notice of dismissal before the opposing party serves either an
answer or a motion for summary judgment . . ..”

       THEREFORE, Plaintiff, through his undersigned counsel, hereby dismisses this action

without prejudice, with all parties to bear their own costs and fees.

DATED: May 9, 2016
                                                  Respectfully submitted,


                                                  /s/Michael I. Fistel, Jr.
                                                  Michael I. Fistel, Jr.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2016, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system. The electronic filing system sent a “Notice of Electronic

Filing” to the attorneys of record who have consented in writing to accept this Notice as service

of this document by electronic means.

                                                     /s/ Michael I. Fistel, Jr.
                                                     Michael I. Fistel, Jr.




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